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®2A0 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT
Western District of Texas

Gary Kirby, Ralph Merriweather and
Rosie Hopkins

SUMMONS IN A CIVIL ACTION
V. '

CPS Energy and Ken Lamour
CASE NUMBER:

SAO8CA0621

 

TO: (Name and address of Defendant)

CPS Energy, through its Executive Director, Milton Lee
145 Navarro
San Antonio, Texas 78205

YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

Ricardo Alberto Garcia

David Van Os

David Van Os & Associates, P.C.
115 E. Travis Street, Suite 618
San Antonio, Texas 78205

an answer to the complaint which is served on you with this summons, within twenty (20) days after service
of this summons on you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you
for the relief demanded in the complaint. Any answer that you serve on the parties to this action must be filed with the
Clerk of this Court within a reasonable period of time after service.

JUL 3 0 2008
William G. Putnicki

CLERK ‘és KS DATE
“Z ae.

(By) DEPUTY CLERK
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*3A0 440 (Rev. 8/01) Summons ina Civil Action

 

 

 

RETURN OF SERVICE
Service of the Summons and complaint was made by me” DATE T- $ () = Oe
NAME OF SERVER (PRINT) TITLE
CHIUSTORKER AKOBLEY

 

 

Check one box below to indicate appropriate method of service
Served personally upon the defendant. Place where served: CPS bhexbd or xS | | oS Ronvee: “the> St
—_— < —
Fram cis [alannan tex ‘od jlX

C1 Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
discretion then residing therein.

 

Name of person with whom the summons and complaint were left:

OO Returned unexecuted:

1 Other (specify):

 

STATEMENT OF SERVICE FEES
TRAVEL SERVICES TOTAL

 

 

 

 

DECLARATION OF SERVER

 

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of ‘Ss ice Vos! -t- is trpe and ©

Executed on T: 40+ Os, No: we CY
Date “Signature of. aks ‘ ae

Address of Server

Sworn puna sud sbed. tz before
me, OY Christel ” ap ye on Fhis
woth gt 4 oF Pe and Mop,
— on is Roblin |
ot rote

 

 

 

 

 

 

(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
